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 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
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11    DENNIS CRIMMINS,                                    Case No. 22-cv-0058-BAS-BLM
12                                     Plaintiff,
                                                          ORDER GRANTING RULE 41(a)(1)
13          v.                                            MOTION TO DISMISS
14    NOURYON SURFACE CHEMISTRY
      LLC, et al.,                                        [ECF No. 9]
15
                                    Defendants.
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           Before the Court is Plaintiff’s motion pursuant to Federal Rule of Civil Procedure
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     (“Rule”) 41(a) to dismiss with prejudice from this action Defendants The Carlyle Group,
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     Inc., Charlie Shaver, Suzanne M. Carroll, and Bahar Azimipour . (Mot., ECF No. 9.)
21
           Under Rule 41(a)(1), a plaintiff has an absolute right to voluntarily dismiss its action
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     by (1) filing a notice of voluntary dismissal before a defendant has filed an answer or
23
     moved for summary judgment, or (2) filing a stipulation of dismissal signed by all parties
24
     who have appeared. Fed. R. Civ. P. 41(a)(1)(A); see also Wilson v. City of San Jose, 111
25
     F.3d 688, 692 (9th Cir. 1997). Dismissal is effective upon the filing of a compliant notice
26
     or stipulation, as described in Rule 41(a)(1)(A), and no court order is required. Stone v.
27
     Woodford, No. CIV-F-05-845 AWI-DLB, 2007 WL 527766 (E.D. Cal. Feb. 16, 2007). A
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 1   dismissal is without prejudice unless the parties stipulate otherwise. Fed. R. Civ. P.
 2   41(a)(1)(B).
 3          Here, Plaintiff seeks dismissal pursuant to Rule 41(a)(1)(A)(i), by filing a notice of
 4   dismissal prior to Defendants’ answering or otherwise responding to the Complaint.
 5   Having considered the request, the Court GRANTS Plaintiff’s Motion.1 (ECF No. 9.)
 6   Thus, the Court DISMISSES WITH PREJUDICE the action against the above-
 7   mentioned Defendants. Each party shall bear its own costs and fees.
 8          IT IS SO ORDERED.
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10   DATED: February 28, 2022
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             Nothing herein affects Plaintiff’s claims against the remaining Defendant, Nouryon Surface
28   Chemistry LLC.

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